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December 14, 2018

Honorable Allison Burroughs

United States District Court Judge
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, MA. 02210

Re: Echavarria v. Roach, et al., 16-CV-11118 (Leave to File Granted on 12/13/18)

Dear Judge Burroughs:

Defendant, the City of Lynn, provides this reply in further support of its letter motion to
compel (Doc. 157). Although the areas of disagreement have been narrowed by Plaintiff's
several restated privilege logs and Plaintiff's decision to provide a limited waiver of privilege
concerning communications and documents involving his criminal defense attorney, there are
significant issues that still remain unresolved and require action by the Court.

Further Argument

A, The Waiver of Privilege Should Also Extend to Communications With, and
Investigative Materials in the Possession of, the Attorneys for Plaintiff’s Codefendant in the
Underlying Criminal Case Who Shared Information with Plaintiff’s Criminal Attorney.

In response to the City’s motion, Plaintiff has voluntarily waived privilege concerning his
criminal trial attorney, Charles Robson. Plaintiff's Opp. (Doc. 158) at 10-11. Plaintiff has
acknowledged that:

Courts recognize that where civil Brady claims are asserted, a plaintiff might not
be able to maintain privilege over documents and communications that bear on
the question whether investigative materials were suppressed by the defendants.
To determine whether investigative materials were suppressed, it is important to
know whether the plaintiff or his attorneys discussed or possessed those materials.
Accordingly, courts have held that a plaintiff bringing such a claim waives
privilege, to a limited extent.

50 Federal Street, Suite 208 Boston, Massachusetts 02110
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Plaintiff's Opp. at 10-11 (citing Patrick v. Chicago, 154 F. Supp. 3d 705, 718 (N.D. Ill. 2015)
and Taylor v. Chicago, 2015 WL 5611192, at *2 (N.D. Ill. Sep. 22, 2015)). Although the
Plaintiff's limited waiver is an important first step, it does not go far enough, given the nature of
his claims and the facts of this case.

An important issue in this case is what Plaintiff's trial attorney knew or should have
known had he exercised reasonable diligence in investigating Plaintiff's case.! During the
underlying criminal case, Plaintiffs trial attorney worked with and shared information with the
attorneys for the codefendant Juan Rodriquez.’ Thus, a material question to be explored in this
case is what information and investigative materials Plaintiff's trial attorney had access to
through his coordination with the codefendant’s attorneys. Accordingly, the waiver of privilege
sought here (whether it be characterized by Plaintiff as attorney-client privilege as set forth in
Plaintiff's Opp. at 9-14 or common-interest/joint-defense doctrine protected information as set
forth in Plaintiff's Opp. at 14-17) should extend to the investigative materials possessed by the
codefendant’s attorneys, which appear to have been available to Plaintiff's attorney during the
underlying criminal case.*

Additionally, the waiver of privilege should also extend to communications from the
codefendant’s attorneys (Attorneys Buso, Conlon, and Segal) to Plaintiff's attorneys. Further,
the waiver of privilege should also extend to communications with, and investigative materials
shared with, Plaintiff's post-conviction attorneys and those conducting investigations for his
benefit. For example, if the codefendant’s attorneys sent investigative materials they had
obtained during the criminal trial to Plaintiff's post-conviction attorneys or others, such as the
Brandeis University staff and students, the privilege should be waived as to those materials, in
the interest of fairness to the defendants here. See Patrick, 154 F. Supp. 3d at 711 (stating that
“[t]he implied waiver doctrine ultimately is based on considerations of fairness: that is a party
may not use privilege as a tool for manipulation of the truth-seeking process” [citation omitted]
and further observing that “[i]n practical terms, this means that parties in litigation may not abuse
the privilege by asserting claims the opposing party cannot adequately dispute unless it has
access to the privileged materials”). Here, it is critically important that Defendant have access to
all information bearing on what was known by, and when it was known to, the criminal defense

 

* Plaintiff implicitly acknowledges this point in his opposition at page 11 by citing and quoting Tennison v. San
Francisco, 226 F.R.D. 615, 623 (N.D. Cal. 2005), where the court stated, among other things, “Only documents that
show facts bearing directly on what [the attorney] and [the plaintiff] knew or should have known about the evidence
allegedly suppressed or falsity of perjured testimony need be produced.”

* During the pretrial and trial phase of the underlying criminal case, the codefendant, Juan Rodriquez, had three
defense attorneys: Raymond Buso, Albert Conlon, and Ronald Segal. Plaintiff's trial counsel, Robson, appears to
have overlapped with all three of those attorneys. Hitt Aff. 7.

> During the deposition of attorney Robson on December 6, 2018, which was suspended pending the resolution of
the privilege matters now at issue, Robson testified that the attorneys for Juan Rodriquez shared information with
him and discussed strategy with him. Hitt Aff. 94.
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attorneys in the underlying case concerning Mariano Bonifacio, Celso Torres, Ali Cromwell, and
any other unidentified piece of “suppressed evidence” as alleged by Plaintiff.

Finally, such a waiver would not adversely impact the codefendant in the underlying
criminal case. The court entered a required finding of not guilty as to him. Double jeopardy
protection has attached. Additionally, it appears that, based on one of the entries on Plaintiff's
privilege log, the codefendant Juan Rodriquez (a/k/a Raul Miranda) executed some type of
limited waiver of privilege in 2011 for the benefit of Plaintiff. See Doc. 158-4, at 79 (“Limited
waiver of privilege by Raul Miranda’).

a The Brandeis University Investigative Materials Were Prepared as Part of a
Journalism Project; Plaintiff Provides No Verified Factual Support for His Assertion that the
Brandeis Project Was a Legal Entity that “took Plaintiff's case;” Therefore, Many, if not all,
of the Brandeis University Communications Do Not Appear to be Privileged.

Throughout his opposition, Plaintiff appears to play fast and loose with the facts
concerning the role of Brandeis University concerning his case. His opposition at pages 2-3 and
14-15 relies largely, if not exclusively, on unverified factual assertions, even though it is he who
bears the burden of showing that he has a valid basis for withholding documents. [n re Grand
Jury Subpoena, 220 F.R.D. at 141. Understanding the role of Brandeis University is important
here because of the many documents relating to Brandeis University that appear to be listed on
Plaintiff's privilege log.°

As described on its website, the Justice Brandeis Law Project (“JBLP”) is an
“investigative journalism” program within the Schuster Institute for Investigative Journalism at
Brandeis University. Hitt Aff. 76 (See http://www.brandeis.edu/investigate/innocence-project/
as accessed on Dec. 13, 2018).

The Schuster Institute was established in 2004 as an “investigative reporting center.” Hitt Aff.
96 (See http://www.brandeis.edu/investigate/about/index.html, as accessed on Dec. 13, 2018.) It
has a “small staff of experienced journalist.” Hitt Aff. §6. As stated on its website, JBLP is
unlike most other innocence projects in that it uses “reporting methods to dig into especially
difficult cases... .” Hitt Aff. 96 (http://www. brandeis.edu/investigate/innocence-project/). Its
“team” is made up of “staff and affiliated researchers and reporters oversee[ing] teams of paid
students research [sic] assistants.” Hitt Aff. 6.

Based on the chronology set forth in Plaintiff's Opposition and the attachments thereto, it
appears that Plaintiff communicated with Brandeis University, its staff and students—none of

 

 

 

4 Although to date Plaintiff has identified only information relating to Mariano Bonifacio as being the subject of his
suppressed-evidence claim, he continues to use kitchen-sink phrases like “Bonifacio (or any other suppressed piece
of evidence)”, Plaintiff's Opp. at 12, in a dubious attempt to keep his options open regarding the theory of his case
concerning deliberate suppression of exculpatory evidence.

° In addition to the documents listed on the Plaintiff's current privilege log (Doc 158-4) that expressly mention
Brandeis (Documents 1, 3-7, 11-35, 38-39, 46-47, 78, 127), it may be the case, though it is hard to tell based on the

scant descriptions, that other entries referencing “Investigator,” “investigative,” or “investigation” (Documents 2, 8,
9, 40, 49-50, 51, 52, 55) may also involve Brandeis University staff or students.
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whom apparently were attorneys at that time—about his case at a time when he also appears to
have not been represented by counsel. Exhibit 2 to Plaintiff's Opposition indicates that a post-
conviction attorney did not appear in his case until November 2006. See Doc. 158-2, File Ref.
No. 49. Thus, items 1-4 as listed on Plaintiff's privilege log (Doc. 158-4), at a minimum, do not
appear to be privileged communications. Those items appear to be communications between
Plaintiff and Brandeis University.

Furthermore, as to the Brandeis University materials, which appear to make up a large
portion of the items listed on the privilege log (though it has hard to tell based on the vague
descriptions provided by Plaintiff and the use of the generic term “Investigator” which may or
may not be Brandeis staff or students), Plaintiff has provided no verified factual support from
which it can be determined that he or his post-conviction attorneys had any relationship with
Brandeis that would justify an assertion of privilege for the Brandeis University materials.
Rather, if anything, based on the many scant descriptions of documents appearing on Plaintiff's
privilege log, it appears that the vast majority of the Brandeis documents may not be privileged
communications or protected work-product. Again, Plaintiff's assertion of privilege is supported
only by unverified factual assertion in his opposition at pages 2-3 and 14-15.

In sum, Plaintiff has provided no meaningful factual support for his argument that there is
a proper basis for concluding that the investigation conducted by Brandies University falls with
the work-product doctrine as set forth in Fed. R. Civ. P. 23(b)(3)(A). Plaintiff's Opp. at 15. In
particular, there is no factual basis for Plaintiffs assertion that the work was prepared to be used
in litigation. Rather, based on Brandeis University’s own web site it appears that the work was
investigative journalism to be published or used by Brandeis in the public interest. Plaintiff has

not shown otherwise.

3. Plaintiff's Argument That His Document Response Complies with Fed. R. Civ.
P. 34(b)(2)(E)(i) is Meritless.

Plaintiff pointlessly quarrels with the requirements of Fed. R. Civ. P. 34(b)(2)(E)(i) and
along the way makes a number of erroneous statements. Plaintiff's Opp. at 6-8. Accordingly, his
argument in opposition should be rejected.

First, Plaintiff inaccurately argues that “Defendants’ [sic] cite no legal support for their
argument.” Plaintiff's Opp. at 6. Apparently, Plaintiff does not view the unambiguous language
of Rule 34(b)(2)(E)(i), which states “[a] party must produce documents as they are kept in the
usual course of business or must organize and label them to correspond to the categories in the
request” (emphasis added), as “legal support.” At least one other judge in this District takes a
different view than that articulated by Plaintiff:

“A party must produce documents as they are kept in the usual course of business
or must organize and label them to correspond to the categories in the request.”
Fed.R.Civ.P. 34(b)(2)(E)(i). The producing party can choose whether to produce
the documents as they are kept in the usual course of business or label and
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organize them. Valeo Elec. Sys., Inc. v. Cleveland Die & Mfg Co., No. 08-cv—
12486, 2009 WL 1803216, at *2 (E.D.Mich. June 17, 2009). The usual course of
business alternative, however, is only available when the documents’ natural
organization makes finding critical documents reasonably possible. W. Holding
Co., Inc. v. Chartis Ins. Co. of Puerto Rico, 293 F.R.D. 68, 71 (D.P.R.2013)
(citations omitted).

Enargy Power (Shenzhen) Co. v. Xiaolong Wang, No. CIV.A. 13-11348-DJC, 2014 WL
4687542, at *3 (D. Mass. Sept. 17, 2014). The approach taken by Plaintiff here does not
comport with the language of the rule or the reasonableness standard articulated in Enargy
Power (Shenzhen) Co., supra.

Second, Plaintiff inaccurately suggests that the City has not labeled its responses.
Plaintiff's Opp. at 7. During a Rule 37.1 conference conducted with one of Plaintiff's attorneys,
Plaintiffs attorney requested that the City label documents responsive to certain requests. Hitt
Aff. 4 2. In response to the request, the City provided a supplemental response providing the
labeling requested by Plaintiff. Hitt Aff. 3. Thus, Plaintiff's argument that the City has not
labeled its responses is without merit.°

Third, Plaintiff also inaccurately states the history concerning the City’s redaction of
investigatory files, which he characterizes as “heavily redacted” and were produced “without
explaining” the redactions. Plaintiff's Opp. at 7. As this Court may remember, the redactions of
the investigative files about which Plaintiff now again complains, were carefully documented by
the City on a privilege log that was reviewed by the Court in February 2018. In fact, the Court
conducted an in camera review of the redacted files. The Court upheld many of the City’s
redactions and rejected many of Plaintiffs meritless complaints. Memorandum and Order of
February 8, 2018 (Doc. 136). Thus, Plaintiffs point, whatever it is, is without merit.

Fourth, as to the City’s request that Plaintiff identify Robson’s file, Plaintiff advances
another inaccurate argument. Plaintiff's Opp. at 7. Plaintiff contends that the City is aware that
Robson does not possess his trial file and it cannot be identified. Plaintiff's Opp. at 7. However,
during Robson’s deposition on December 6, 2018, one of Plaintiff's attorneys produced—and
Robson identified—his trial file which he had sent to Plaintiff after the trial. Hitt Aff. ] 4, 5.
Although the issue now appears to be moot, it should be noted that Robson’s file was produced
from documents apparently now in Plaintiffs possession, thereby undermining argument that he
cannot label documents responsive to particular requests.’

 

® Plaintiff also attempts to lay the alleged nonresponse of other Defendants to discovery at the foot of the City.
Plaintiff's Opp. at 7 (“Moreover, some Defendants have not even provided documents or written responses to
request for production, despite repeated requests.”) Plaintiff's statement is irrelevant to the City’s motion to compel.
7 Finally, although the factual basis of Plaintiff's argument concerning its failure to identify its presentment letter
to the City is inaccurate as well, the City will not address the point because in its opposition, for the first time,
Plaintiff appears to identify which documents respond to the request concerning Plaintiff's presentment letters.
Plaintiff's Opp. at 7-8 & Ex. 6.
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Conclusion

For the additional reasons set forth above, and as previously set forth in Doc. 157, the
Court should order Plaintiff to: (1) comply with the labeling and organizing requirements of Rule
34; (2) serve a more detailed privilege log that will permit assessment of the asserted privileges
as required by Rule 26; and (3) produce all portions of the withheld documents as to which
Plaintiff is not asserting privilege.

Additionally, the Court should issue an order determining that, in addition to the
voluntary waiver of privilege as to attorney Robson, attorney-client privilege is waived as to: (1)
investigative materials in the possession of the codefendant’s attorneys, which appear to have
been available to Plaintiff's attorney during the underlying criminal case; (2) communications
from the codefendant’s pretrial and trial attorneys (Attorneys Buso, Conlon, and Segal) to
Plaintiff's attorneys; and (3) communications with, and investigative materials shared with,
Plaintiff's post-conviction attorneys and those conducting investigations for his benefit.

Sincerely,
/s/John R. Hitt

John R. Hitt
Counsel for Defendant City of Lynn

Enc.

Certificate of Service

I, John R. Hitt, hereby certify that on the 14" day of December 2018, I served a copy of this letter-reply on
counsel registered for CM/ECF in this action by filing this letter through the CM/ECF system.

/s/John R. Hitt
